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 6                        UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,                      No. 2:03-cr-02023-SAB
10                     Plaintiff,
11              v.                                ORDER DENYING
12 PAUL E. HINES,                                 DEFENDANT’S MOTION TO
13                     Defendant.                 VACATE, SET ASIDE, OR
14                                                REDUCE SENTENCE;
15                                                GRANTING MOTION TO
16                                                WITHDRAW
17        On June 24, 2014, Defendant filed a Motion to Vacate, Set Aside, or
18 Correct Sentence. ECF No. 111. A briefing schedule was set and on October 31,
19 2014, proceedings were stayed for ninety days or until the Ninth Circuit Court of
20 Appeals issued a decision in Ezell v. United States, 14-71696. ECF No. 123. The
21 Court of Appeals issued its decision in Ezell on January 23, 2015. This Court
22 ordered parties to file a Status Certificate updating the Court on this matter, ECF
23 No. 125, and Defendant did so on July 14, 2015. ECF No. 128.
24        Defendant’s motion to vacate, set aside or correct sentence was premised on
25 the Supreme Court’s decision in Descamps v. United States. 133 S. Ct. 2276
26 (2013). At the time Defendant filed the pending motion, the Ninth Circuit Court of
27 Appeals was considering Ezell, which concerned whether Descamps applied
28 retroactively. In Ezell, the Ninth Circuit ruled that Descamps does not apply
     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE,
     OR REDUCE SENTENCE; GRANTING MOTION TO WITHDRAW # 1
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 1 retroactively. Defendant concedes the Ezell ruling, as well as other related case
 2 law, forecloses relief in this matter as it renders his motion untimely. The Court
 3 concurs. Accordingly, the Court denies Defendant’s motion.
 4        Defense Counsel moves to withdraw from this matter. Because there are no
 5 remaining pending issues, the Court grants counsel’s request, and closes this file.
 6        Accordingly, IT IS HEREBY ORDERED:
 7        1. Defendant’s Motion to Vacate, Set Aside, or Correct Sentence, ECF No.
 8           111, is DENIED.
 9        2. Defense Counsel’s Motion to Withdraw, included in ECF No. 128, is
10           GRANTED.
11        IT IS SO ORDERED. The District Court Executive is hereby directed to
12 file this Order, provide copies to counsel and close the file.
13        DATED this 3rd day of September 2015.
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                                                    Stanley A. Bastian
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                                                 United States District Judge
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     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE,
     OR REDUCE SENTENCE; GRANTING MOTION TO WITHDRAW # 2
